IN THE UNITED STATES BANRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re Chapter 11
FOREVER 21, INC., et al., Case No. 19-12122-KG-11
Debtors. (Jointly Administered)

 

 

NOTICE OF APPEARANCE AND REQUEST FOR NOTICE
PLEASE TAKE NOTICE that Stockton Street Properties, Inc., a Florida
corporation, as Landlord of the premises located at 2 Stockton Street, San Francisco
California by and through its attorneys, VALINOTI, SPECTER & DITO, LLP,
appears in this matter pursuant to Bankruptcy Rules 2002 and 9010 and sections 102(1),
342 and 1109(b) of the Bankruptcy Code and requests that all notices given or required to
be given in this case and all papers served or required to be served in this case, be given
to and served upon the following:
VALINOTI, SPECTER & DITO, LLP
555 Montgomery Street, Suite 605
San Francisco, CA 94111
Telephone: (415) 986-1338
Fax: (650) 745-1126

Email: jdito(@valinoti-dito.com
Attn.: Jeffrey A. Dito, Esq.

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Invesco Real Estate
c/o Kevin Pirozzoli
101 California Street, Suite 1800
San Francisco, CA 94111
Telephone: (415) 445-3355

E-Mail: Kevin.pirozzoli(@invesco.com
PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the
Bankruptcy Code, the foregoing demand includes not only the notices and papers referred
to in rules specified above, but also includes, without limitation, orders and notices of any
application, motions, petitions, pleadings, requests, complaints, demands, disclosure

statements, plans of reorganization, and answering or reply papers whether transmitted or

conveyed by mail, delivery, telephone, telegraph, telex, telecopier or otherwise.

Dated: October 3, 2019 VALINOTI, SPECTER & DITO, LLP

By: /s/ Jeffrey A. Dito

Jeffrey A. Dito, CA Bar # 125003

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Attorneys for Landlord and Creditor Stockton Street
Properties, Inc., a Florida corporation

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CERTIFICATE OF SERVICE

I, Jeffrey A. Dito, do hereby certify that a true and correct copy of the above Notice of
Appearance and Request For Notice, has been served upon the parties listed on the

Court’s ECF transmission list in this case via ECF e-notice, fax or U.S. Mail on October
3, 2019.

/s/ Jeffrey A. Dito

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